Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 1 of 17 Page ID
                                 #:109096
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 2 of 17 Page ID
                                 #:109097
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 3 of 17 Page ID
                                 #:109098
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 4 of 17 Page ID
                                 #:109099
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 5 of 17 Page ID
                                 #:109100
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 6 of 17 Page ID
                                 #:109101
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 7 of 17 Page ID
                                 #:109102
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 8 of 17 Page ID
                                 #:109103
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 9 of 17 Page ID
                                 #:109104
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 10 of 17 Page ID
                                 #:109105
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 11 of 17 Page ID
                                 #:109106
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 12 of 17 Page ID
                                 #:109107
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 13 of 17 Page ID
                                 #:109108
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 14 of 17 Page ID
                                 #:109109
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 15 of 17 Page ID
                                 #:109110
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 16 of 17 Page ID
                                 #:109111
Case 2:04-cv-09049-DOC-RNB Document 4315-7 Filed 09/30/08 Page 17 of 17 Page ID
                                 #:109112
